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 1   SHIYANG HUANG
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 5
                               UNITED STATES DISTRICT COURT
 6                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 7

 8
     IN RE: OPTICAL DISK DRIVE ANTITRUST Case No. 10-md-2143-RS (JCS)
 9   LITIGATION
                                         Chief Judge Richard Seeborg
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     This Document Relates to:                STATEMENT TO THE NINTH CIRCUIT
11   All Indirect Purchaser Actions           DECISION

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 1   STATEMENT TO OPINION DISPOSING OBJECTOR ERWIN’S APPEAL

 2   Shiyang Huang submits the following statements in light of the Ninth Circuit’s opinion:

 3   1. The Ninth Circuit remanded for a recalculation of IPP’s attorney’s fee award,

 4      agreeing with Objector Erwin that the bid was not a flat rate bid, but a marginal one.

 5   2. That argument was first raised by Huang in his initial objection. See Nadia Dreid,

 6      Optical Drive Objector Says Hagens Berman Used 'Bad Math'. Law360 (April 26,

 7      2021) (covering Huang’s Objection, Dkt. 2996 at 4).

 8   3. The Ninth Circuit’s disposition entirely agreed with Huang’s argument that the

 9      “starting point” should have been $22.205 million. Dkt. 2996 at 4.

10   4. While Huang raised the initial argument, Huang did not appeal from the decision; the

11      argument was joined by Objector Erwin in this court and he raised it again on appeal.

12   5. Huang will take no position to any fee motions filed by Erwin, if his motion seeks an

13      award to be funded by IPP counsel; otherwise, judicial estoppel requires that Huang

14      opposes Erwin’s fee motion if he seek an award reducing class recovery. Dkt. 3050.

15   6. Huang intends to decline seeking any award for discovering the starting point issue;

16      his request would have been nominal, but it provides no incentive to be on the

17      receiving end of more ad hominem from IPP counsel. Dkt. 3085; Dkt. 3005 at 6.

18   7. If this Court believes that Huang’s work could have merited an award, this Court has

19      independent discretion to increase Class recovery. Fed. R. Civ. Proc. 23(h).

20   8. As of now, the Class received just about $3.81 per eligible device.

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 1   Date: July 30, 2022                                 Respectfully Submitted,

 2                                                       /S/ SHIYANG HUANG
                                                            SHIYANG HUANG
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 5
                                     CERTIFICATE OF SERVICE
 6
            I, Shiyang Huang, hereby certify that on July 30, 2022, I caused a copy of the foregoing to
 7
     be served by this Court’s CM/ECF system on all pro se parties and counsels of record.
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                                                                 /s/ Shiyang Huang
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